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                                UNITED STATES BANKRUPTCY COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                         TAMPA DIVISION
                                        www.flmb.uscourts.gov

  In re:                                                         Case No. 8:18-bk-08117-RCT
                                                                 Chapter 7
  Scott Crawford

        Debtor.
  _________________________________/

                       TRUSTEE’S MOTION TO COMPEL DEBTOR TO
                         TURNOVER PROPERTY OF THE ESTATE


                              NOTICE OF OPPORTUNITY TO
                           OBJECT AND REQUEST FOR HEARING

        Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper
without further notice or hearing unless a party in interest files a response within 30 days from
the date set forth on the attached proof of service, plus an additional three days for service if
any party was served by U.S. Mail.

        If you object to the relief requested in this paper, you must file a response with the
Clerk of the Court at 801 N. Florida Avenue, Suite 555, Tampa, Florida 33602-3899 and serve
a copy on Carolyn R. Chaney, Chapter 7 Trustee, Post Office Box 530248, St. Petersburg, FL
33747, and any other appropriate persons within the time allowed. If you file and serve a
response within the time permitted, the Court will either schedule and notify you of a hearing,
or consider the response and grant or deny the relief requested without a hearing.

       If you do not file a response within the time permitted, the Court will consider that
you do not oppose the relief requested in the paper, will proceed to consider the paper
without further notice or hearing, and may grant the relief requested.


           COMES NOW, Carolyn R. Chaney, Chapter 7 Trustee, and hereby moves pursuant to

  11 U.S.C. §§521(a)(3), (4) and 542(a), for turnover of property of the estate, and in support

  thereof, states as follows:

           1.    The Debtor filed a voluntary petition under Chapter 7 on September 25, 2018.

           2.    Carolyn R. Chaney was appointed as Trustee.

           3. The Trustee held and concluded the meeting of creditors on October 25, 2018.
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       4.     The Debtor filed a Statement of Intention indicating his intention to surrender the

real property located at 4623 Lake Valencia Blvd. West, Palm Harbor, FL 34684.

       5.     The Trustee was authorized to retain BK Global Real Estate Services and Future

Home Realty to market and sell the real property, Doc. No. 16.

       6.     The Trustee accepted a contract to purchase the real property; however the real

estate agent informed the Trustee the potential buyer rescinded the contract due to comments

made by the Debtor about the property.

       7.     The Debtor remains in the property and his occupancy of the property is

frustrating the efforts of the realtor to market and show the property. Accordingly, the

Trustee seeks turnover of the property.

       8.     11 U.S.C. § 521 (a)(4) provides that the Debtor shall “surrender to the trustee all

property of the estate and any recorded information, including books, documents, records and

papers relating to property of the estate.” The Debtor’s obligation to cooperate with the

Trustee in her administration of the estate is further mandated under Federal Bankruptcy Rule

4002(a)(4).

       9.     Without the cooperation of the Debtor to turn over the property, the property

value is diminishing.

       10.     The Debtor received his Discharge on December 28, 2018, Doc. No. 11. The

Debtor should not be able to enjoy the discharge of debts without fulfilling his duties under

the Bankruptcy Code and Rules. Accordingly, the Trustee asks this Court to reserve

jurisdiction to determine if a Revocation of Discharge for failure to comply with a court’s

order is appropriate.
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       WHEREFORE, the Trustee moves for entry of an Order Granting the Trustee’s

Motion For Turnover of Property of the Estate, to retain jurisdiction under 11 U.S.C. § 105 to

examine whether the Debtor’s Discharge should be revoked, and for such other and further

relief as the Court may deem just and proper.

        DATED: July 17, 2019.                       /s/Carolyn R. Chaney, Trustee
                                                    Post Office Box 530248
                                                    St. Petersburg, FL 33747-0248
                                                    Telephone:      (727) 864-9851
                                                    Email: carolyn.chaney@earthlink.net




                              CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing Motion for
Turnover has been provided by electronic or U.S. Mail delivery on July 17, 2019, to:

Office of U.S. Trustee, USTPRegion21.TP.ECF@USDOJ.GOV

Debtor: Scott Crawford, 4623 Lake Valencia Blvd. West, Palm Harbor, FL 34684

Attorney for Debtor: Alan D. Borden, Esquire, 901 W. Hillsborough Avenue, Tampa, FL 33603;
Email: data@1800debtrelief.com.



                                                    /s/Carolyn R. Chaney, Trustee
